           19-11957-mg               Doc 1          Filed 06/13/19        Entered 06/13/19 11:23:54                   Main Document
                                                                          Pg 1 of 8
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

     Southern District of New York
                                          (State)
                                                                11
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                            Chapter 7
                                            Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      Faus International Inc.
                                       ______________________________________________________________________________________________________



3.   Other names you know               dba Mykonos Blue
                                       __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)
                                       8 ___
                                       ___ 1 – ___
                                                4 ___
                                                   2 ___
                                                      1 ___
                                                         7 ___
                                                            5 ___
                                                               7 ___
                                                                  6
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                       127-129 West 28th Street
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                                                                                      _________________________________________________
                                       _________________________________________________
                                                                                                      P.O. Box


                                        New York
                                       ______________________________        NY
                                                                            _______   10001
                                                                                    _________         _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                        New York
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


Official Form 205                                         Involuntary Petition Against a Non-Individual                                    page 1
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Debtor          Faus International Inc., dba Mykonos Blue
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        www.mykonosbluenyc.om
                                    _____________________________________________________________________________________________________




7.    Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                     None of the types of business listed.
                                     Unknown type of business.

9.    To the best of your               No
      knowledge, are any
      bankruptcy cases                              Faus International Inc.
                                         Yes. Debtor _________________________________________________               same
                                                                                                       Relationship __________________________
      pending by or against                          SDNY                                      4/22/2019                             19-11236-mg
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                     Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                     The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a               No
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


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Debtor             Faus International Inc., dba Mykonos Blue
                  _______________________________________________________                                  Case number (if known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                    Nature of petitioner’s claim              Amount of the claim
                                                                                                                                                  above the value of
                                                                                                                                                  any lien


                                                  ______________________________________                _________________________________         $ ________________

                                                  ______________________________________                _________________________________         $ ________________

                                                  ______________________________________                _________________________________         $ ________________

                                                                                                              Total of petitioners’ claims
                                                                                                                                                  $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                             Attorneys


      Name and mailing address of petitioner

      Eleni Vareli                                                                              Dawn Kirby, Esq.
                                                                                             ________________________________________________________________
      ______________________________________________________________
      Name                                                                                   Printed name


      PO Box 1681                                                                               Kirby Aisner & Curley, LLP
                                                                                             ________________________________________________________________
      ______________________________________________________________                         Firm name, if any
      Number Street

      New York                                      NY
      _________________________________ ______________ _____________    10150                   700 Post Road, Suite 237
                                                                                             ________________________________________________________________
      City                              State          ZIP Code                              Number Street

                                                                                                Scarsdale, NY 10583
                                                                                             _________________________________ ______________ _____________
                                                                                             City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

      ______________________________________________________________                         Contact phone   914-401-9500              dkirby@kacllp.com
                                                                                                              _________________ Email ___________________________
      Name

      ______________________________________________________________                         Bar number         2733004
                                                                                                             ___________________________________________________
      Number Street

      _________________________________ ______________ _____________                         State             NY
                                                                                                             _________________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

                     05/30/2019
      Executed on _________________
                  MM / DD / YYYY                                                               /s/ Dawn Kirby
                                                                                              ________________________________________________________________
                                                                                             Signature of attorney

 /s/ Eleni Vareli
      ______________________________________________________________
                                                                                             Date signed        06/13/2019
                                                                                                              _________________
      Signature of petitioner or representative, including representative’s title
                                                                                                              MM / DD / YYYY



Official Form 205                                                 Involuntary Petition Against a Non-Individual                                       page 3
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                                                                                 Pg 4 of 8
Debtor          Faus International Inc., dba Mykonos Blue
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

    Ergema LLC
   ______________________________________________________________
                                                                                            Dawn Kirby, Esq,
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name


    PO Box 1681
   ______________________________________________________________
                                                                                             Kirby Aisner & Curley LLP
                                                                                          ________________________________________________________________
                                                                                          Firm name, if any
   Number Street

    New York                                     NY
   _________________________________ ______________ _____________    10150                   700 Post Road, Suite 237
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                             Scarsdale, New York 10583
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                                          914-401-9500             dkirby@kacllp.com
    Eleni Vareli
   ______________________________________________________________
                                                                                          Contact phone   _________________ Email ___________________________

   Name
                                                                                          Bar number         2733004
                                                                                                          ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State                NY
                                                                                                          _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                  5/30/2019
   Executed on _________________
               MM / DD / YYYY
                                                                                            /s/ Dawn Kirby
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


 /s/ Eleni Vareli
    ______________________________________________________________                        Date signed        06/13/2019
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

    Yianni Koulouris
   ______________________________________________________________
                                                                                             Dawn Kirby, Esq.
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name


    36 Sutton Place., South #15A                                                              Kirby Aisner & Curley LLP
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

    New York                                     NY
   _________________________________ ______________ _____________    10022                    700 Post Road, Suite 237
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                             Scarsdale, New York 10583
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone   914-401-9500              dkirby@kacllp.com
                                                                                                           _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number        273300
                                                                                                          ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State              NY
                                                                                                          _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                    05/30/2019
   Executed on _________________
               MM / DD / YYYY
                                                                                            /s/ Dawn Kirby
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


 /s/ Yianni Koulouris
    ______________________________________________________________                        Date signed        06/13/2019
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                       page 4
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                                                                                 Pg 5 of 8
Debtor         Faus International Inc., dba Mykonos Blue
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   Georgia    Anthi Mitrousia
   ______________________________________________________________
                                                                                            Dawn Kirby, Esq.
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name


    PO Box 1681                                                                             Kirby Aisner & Curley LLP
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

    New York                                     NY
   _________________________________ ______________ _____________   10150                   700 Post Road, Suite 237
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                            Scarsdale, New York 10583
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any

   ______________________________________________________________
                                                                                          Contact phone   914-401-9500             dkirby@kacllp.com
                                                                                                          _________________ Email ___________________________

   Name
                                                                                          Bar number        2733004
                                                                                                          ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State             NY
                                                                                                          _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                 05/30/2019
   Executed on _________________
               MM / DD / YYYY
                                                                                            /s/ Dawn Kirby
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


 /s/ Georgia Anthi Mitrousia
    ______________________________________________________________                        Date signed        06/13/2019
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

    Western Corp
   ______________________________________________________________
                                                                                            Dawn Kirby, Esq.
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name


    220 Ingraham Street
   ______________________________________________________________
                                                                                            Kirby Aisner & Curley LLP
                                                                                          ________________________________________________________________
                                                                                          Firm name, if any
   Number Street

   Brooklyn
   _________________________________ NY
                                     ______________ 11237
                                                    _____________
                                                                                             700 Post Road, Suite 237
                                                                                          ________________________________________________________________
   City                                          State               ZIP Code             Number Street

                                                                                              Scarsdale, New York 10583
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any

    Steve Vlasleuras
   ______________________________________________________________
                                                                                          Contact phone   914-401-9500             dkirby@kacllp.com
                                                                                                           _________________ Email ___________________________

   Name
                                                                                                           2733004
   220   Ingraham Street
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number     Street
                                                                                          State                NY
                                                                                                          _________________
    Brooklyn                                      NY
   _________________________________ ______________ _____________    11237
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                  05/30/2019
   Executed on _________________
               MM / DD / YYYY
                                                                                            /s/ Dawn Kirby
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


 /s/ Steve Vlasleuras
    ______________________________________________________________                        Date signed        06/13/2019
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                       page 4
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Debtor           Faus International Inc., dba Mykonos Blue
                 _______________________________________________________                                Case number (if known)_____________________________________
                 Name




   Name and mailing address of petitioner

    SF Consultants LLC
   ______________________________________________________________                         Zachary S. Kaplan
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          Saccot    & Fillas, LLP
   31-19    Newtown Avenue, 7th Floor
   ______________________________________________________________
                                                                                          ________________________________________________________________
                                                                                          Firm name, if any
   Number       Street

   Astoria                                       NY
   _________________________________ ______________ _____________   11102                 31-19    Newtown Avenue, 7th Floor
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number     Street

                                                                                           Astoria                                NY              11102
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone         718-269-2232
                                                                                                              _________________       zkaplan@saccotfillas.com
                                                                                                                                Email ___________________________
   Elias N. Fillas, President
   ______________________________________________________________
   Name
                                                                                          Bar number      5387998
                                                                                                          ___________________________________________________
   31-19 Newtown Avenue, 7th Floor
   ______________________________________________________________
   Number Street
                                                                                          State           NY
                                                                                                          _________________
   Astoria
   _________________________________ NY
                                     ______________ 11102
                                                    _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               06/10/2019
   Executed on _________________
               MM / DD / YYYY
                                                                                           /s/ Zachary S. Kaplan
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


        /s/ Paul D. Palagian
    ______________________________________________________________                        Date signed
                                                                                                               06/10/2019
                                                                                                              _________________
   Signature of petitioner or representative, including representative’s title                                MM / DD / YYYY




   Name and mailing address of petitioner

   Fantis Foods Inc.
   ______________________________________________________________
                                                                                             Dawn Kirby, Esq.
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name

                                                                                             Kirby Aisner & Curley LLP
                                                                                          ________________________________________________________________
   60 Triangle Blvd.
   ______________________________________________________________                         Firm name, if any
   Number       Street

   Carlstadt
   _________________________________ NJ
                                     ______________ 07072
                                                    _____________
                                                                                            700 Post Road, Suite 237
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                            Scarsdale, New York 10583
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone   914-401-9500             dkirby@kacllp.com
                                                                                                          _________________ Email ___________________________
   Jerry Makris, V. President
   ______________________________________________________________
   Name
                                                                                          Bar number           2733004
                                                                                                          ___________________________________________________
   60 Triangle Blvd.
   ______________________________________________________________
   Number       Street
                                                                                          State                NY
                                                                                                          _________________
   Carlstadt
   _________________________________ NJ
                                     ______________ 07072
                                                    _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               06/07/2019
   Executed on _________________
               MM / DD / YYYY
                                                                                            /s/ Dawn Kirby
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


    /s/ Jerry Makris
    ______________________________________________________________                        Date signed          06/13/2019
                                                                                                              _________________
   Signature of petitioner or representative, including representative’s title                                MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                       page 4
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Debtor         Faus  International Inc., dba Mykonos Blue
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   Fantis Imports Inc.
   ______________________________________________________________
                                                                                            Dawn Kirby, Esq.
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name

                                                                                            Kirby Aisner & Curley LLP
                                                                                          ________________________________________________________________
   60 Triangle Blvd.
   ______________________________________________________________                         Firm name, if any
   Number     Street
                                                                                            700 Post Road, Suite 237
   Carlstadt
   _________________________________ NJ
                                     ______________ 07072
                                                    _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                            Scarsdale, New York 10583
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone   914-401-9500              dkirby@kacllp.com
                                                                                                           _________________ Email ___________________________
   Jerry Makris, V. President
   ______________________________________________________________
   Name
                                                                                          Bar number         2733004
                                                                                                          ___________________________________________________
   60 Triangle Blvd.
   ______________________________________________________________

                                                                                                               NY
   Number Street
                                                                                          State           _________________
   Carlstadt                          NJ
   _________________________________ ______________ 07072
                                                    _____________
   City                                          State               ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on 06/07/2019
               _________________
               MM / DD / YYYY
                                                                                            /s/ Dawn Kirby
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


    /s/ Jerry Makris
    ______________________________________________________________                        Date signed       06/13/2019
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

   M. Slavin & Sons
   ______________________________________________________________                         Thomas Torto, Esq.
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   800 Foodcenter Drive #66
   ______________________________________________________________                         Firm name, if any
   Number Street

   Bronx
   _________________________________  NY
                                     ______________ 10474
                                                    _____________                         419 Park Avenue, So., Ste., 406
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          New York
                                                                                          _________________________________ NY
                                                                                                                            ______________ 10016
                                                                                                                                           _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone     212-532-5881
                                                                                                           _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State              NY
                                                                                                          _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on 06/11/2019
               _________________
               MM / DD / YYYY
                                                                                           /s/ Thomas Torto
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


    /s/ Cindy Slavin, Secretary/ Treasurer
    ______________________________________________________________                        Date signed      06/11/2019
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                       page 4
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Debtor         Faus International Inc., dba Mykonos Blue
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

    Chem-Clean Co.
   ______________________________________________________________                           Dawn Kirby, Esq.
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name

                                                                                             Kirby Aisner & Curley LLP
    33-69 55th Street
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   Woodside                                       NY
   _________________________________ ______________ _____________    11377                  700 Post Road, Suite 237
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                             Scarsdale, New York 10583
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                                           _________________ Email dkirby@kacllp.com
                                                                                                          914-401-9500
    Changrong LI c/o Chem-Clean Co.
                                                                                          Contact phone                            ___________________________
   ______________________________________________________________
   Name
                                                                                                            2733004
    33-69 55th Street
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State              NY
                                                                                                          _________________
    Woodside                                     NY
   _________________________________ ______________ _____________    11377
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                  06/11/2019
   Executed on _________________
               MM / DD / YYYY
                                                                                            /s/ Dawn Kirby
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


 /s/ Changrong Li., President
    ______________________________________________________________                        Date signed          06/13/2019
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner
    RJ Linen and Uniforms                                                                    Dawn Kirby, Esq.
                                                                                          ________________________________________________________________
   ______________________________________________________________
   Name                                                                                   Printed name


     305 N. Macquesten Pkwy                                                                   Kirby Aisner & Curley LLP
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

     Mount Vernon                                  NY
   _________________________________ ______________ _____________      10550                  700 Post Road, Suite 237
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                              Scarsdale, New York 10583
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                                          914-401-9500             dkirby@kacllp.com
    Ruben Pepin, President
                                                                                          Contact phone   _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                                            2733004
     305 N. Macquesten Pkwy
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                                            NY
     Mount Vernon
                                                                                          State           _________________
                                                   NY
   _________________________________ ______________ _____________     10550
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                      6/13/2019
   Executed on _________________
               MM / DD / YYYY
                                                                                        /s/ Dawn Kirby
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


        /s/ Ruben Pepin, President
    ______________________________________________________________                        Date signed        06/13/2019
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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